              Case 1:19-mj-00177-AJ Document 7 Filed 10/09/19 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE

United States

               v.                                                   No. 19-mj-00177-AJ

Louis Tobin


            Assented-to Motion to Continue and Extend Indictment Deadline 60 Days
                  to December 14, 2019, Pursuant to 18 U.S.C. ' 3161(H)(8)(A)

       The United States of America, with the explicit assent of the defendant, through defense

counsel, Michael C. Shklar, Esquire, respectfully requests a continuance and extension of the

period within which to return an indictment in this matter for sixty (60) days to December 14,

2019, pursuant to 18 U.S.C. '3161(h)(8)(A). As grounds for this motion, the government asserts

the following:

       1.           The defendant was charged by Criminal Complaint. His initial appearance

pursuant to Fed. R. Crim. P. 5 was held on September 13, 2019.

       2.           The government and the defendant are presently discussing the possible

disposition of this case by pre-indictment plea agreement, which the parties believe may be in

their mutual interest. Under the terms of the Speedy Trial Act, this case must be indicted 30

days from the date of the initial appearance, plus any excludable time. See 18 U.S.C. '3161(b).

       3.           It is the position of the parties that the ends of justice will be best served by this

continuance in that it will allow the parties additional time in which to attempt to arrange a pre-

indictment disposition of this matter, thereby conserving judicial, grand jury, defense and

governmental resources. It is the position of the parties that the interests of justice served by the

requested continuance outweigh the interests of the defendant and the public in a speedy

indictment.
            Case 1:19-mj-00177-AJ Document 7 Filed 10/09/19 Page 2 of 2



       4.      The parties further request that the Court enter an order excluding the time period

from the date of the initial appearance, September 15, 2018, through December 14, 2019, from

the Speedy Trial Act calculations with respect to this case.

       WHEREFORE, for the foregoing reasons, the undersigned respectfully requests that this

Honorable Court:

                       A.     Grant a continuance of the period within which to return an
                              indictment in this matter for 60 days to December 14, 2019, in the
                              interests of justice; and,
                       B.     Exclude time from the Speedy Trial Act calculations as requested
                              above.

Dated: October 9, 2019                               Respectfully submitted,

                                                     SCOTT W. MURRAY
                                                     United States Attorney


                                              By:
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